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                                                                     United States Bankruptcy Court
                                                                        Northern District of Georgia
  In re       Robin Johnston Campbell                                                                            Case No.
                                                                                    Debtor(s)                    Chapter      13

                                                                            CHAPTER 13 PLAN

Extension                                                                                                                               Composition

         You should read this Plan carefully and discuss it with your attorney. Confirmation of this Plan by the Bankruptcy
Court may modify your rights by providing for payment of less than the full amount of your claim, by setting the value of the
collateral securing your claim, and/or by setting the interest rate on your claim.

Debtor or Debtors (hereinafter called "Debtor") proposes this Chapter 13 Plan:

1. Submission of Income. Debtor submits to the supervision and control of the Chapter 13 Trustee ("Trustee") all or such portion of
future earnings or other future income of Debtor as is necessary for the execution of this Plan.

2. Plan Payments and Length of Plan. Debtor will pay the sum of $220.00 Monthly to Trustee by Payroll Deduction(s) or by
   Direct Payment(s) for the applicable commitment period of 36 months, unless all allowed claims in every class, other than
long-term claims, are paid in full in a shorter period of time. The term of this Plan shall not exceed sixty (60) months. See 11 U.S.C. §§
1325(b)(1)(B) and 1325(b)(4). Each pre-confirmation plan payment shall be reduced by any pre-confirmation adequate protection
payment(s) made pursuant to Plan paragraph 6(A)(i) and § 1326(a)(1)(C).

             The following alternative provision will apply if selected:

                  IF CHECKED, Plan payments will increase by $                   in month       upon completion or termination of   .

3. Claims Generally. The amounts listed for claims in this Plan are based upon Debtor's best estimate and belief. An allowed proof
of claim will be controlling, unless the Court orders otherwise. Objections to claims may be filed before or after confirmation.

4. Administrative Claims. Trustee will pay in full allowed administrative claims and expenses pursuant to §507(a)(2) as set forth
below, unless the holder of such claim or expense has agreed to a different treatment of its claim.

        (A). Trustee's Fees. The Trustee shall receive a statutory fee in the amount established by the Attorney General and the
United States Trustee.

          (B). Debtor's Attorney's Fees. Debtor and Debtor's attorney have agreed to a base attorney fee in the amount of
$ 4,000.00 for the services identified in the Rule 2016(b) disclosure statement filed in this case. The amount of $ 0.00 was
paid prior to the filing of the case. The Trustee shall disburse the unpaid amount of the fee, $ 4,000.00 , as allowed under General
Order 18-2015, as follows: (1) Upon the first disbursement following confirmation of a Plan, the Trustee shall disburse to Debtor's
attorney from the funds available and paid into the office of the Trustee by Debtor or on Debtor's behalf, up to $ 4,000.00 after the
payment of any payments under 11 U.S.C. § 1326(a)(1)(B) or (C) and administrative fees. The remaining balance of the fees shall be
paid up to $ 125.00 per month until the fees are paid in full; (2) If the case is converted prior to confirmation of the plan, Debtor
directs the Trustee to pay fees to Debtor's attorney from the funds available of $ 2,000.00 (amount not to exceed $2,000); (3) If
the case is dismissed prior to confirmation of the plan, fees for Debtor's attorney of $ 2,000.00 as set forth on the 2016(b)
disclosure statement (amount not to exceed $2,000) are allowed pursuant to General Order 18-2015 and shall be paid by the Trustee
from the funds available without a fee application. Debtor's attorney may file a fee application for fees sought over $2,000.00 within
10 days of the Order of Dismissal; (4) If the case is converted after confirmation of the plan, Debtor directs the Trustee to pay to
Debtor's attorney from the funds available, any allowed fees which are unpaid; and (5) If the case is dismissed after confirmation of
the plan, Trustee shall pay to Debtor's attorney from the funds available, any allowed fees which are unpaid.

5. Priority Claims.

             (A). Domestic Support Obligations.

    None. If none, skip to Plan paragraph 5(B).



1                                                                                                                                       12.01.15
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                           (i). Debtor is required to pay all post-petition domestic support obligations directly to the holder of the claim.

                           (ii). The name(s) and address(es) of the holder of any domestic support obligation are as follows. See 11 U.S.C. §§
                           101(14A) and 1302(b)(6).

                               -NONE-

                           (iii). Anticipated Domestic Support Obligation Arrearage Claims

                                (a). Unless otherwise specified in this Plan, priority claims under 11 U.S.C. § 507(a)(1) will be paid in full
                                pursuant to 11 U.S.C. § 1322(a)(2). These claims will be paid at the same time as claims secured by personal
                                property, arrearage claims secured by real property, and arrearage claims for assumed leases or executory
                                contracts.

                                      None; or

 (a)                                                                                                   (b)                                       (c)
 Creditor                                                                             Estimated arrearage               Projected monthly arrearage
 (Name and Address)                                                                                 claim                                  payment
 -NONE-



                                (b). Pursuant to §§ 507(a)(1)(B) and 1322(a)(4), the following domestic support obligation claims are assigned
                                to, owed to, or recoverable by a governmental unit.

                                    None; or
                                   Claimant and proposed treatment:               -NONE-

           (B). Other Priority Claims (e.g., tax claims). All other allowed priority claims will be paid in full, but will not be funded until
after all secured claims, lease arrearage claims, and domestic support claims are paid in full.


 (a)                                                                                                                                               (b)
 Creditor                                                                                                                             Estimated claim
 Internal Revenue Service                                                                                                                        2,000.00

6. Secured Claims.

             (A). Claims Secured by Personal Property Which Debtor Intends to Retain.

                           (i). Pre-confirmation adequate protection payments. No later than 30 days after the date of the filing of this plan or
                           the order for relief, whichever is earlier, the Debtor shall make the following adequate protection payments to creditors
                           pursuant to § 1326(a)(1)(C). If the Debtor elects to make such adequate protection payments on allowed claims to
                           the Trustee pending confirmation of the plan, the creditor shall have an administrative lien on such payment(s),
                           subject to objection. If Debtor elects to make such adequate protection payments directly to the creditor, Debtor
                           shall provide evidence of such payment to the Trustee, including the amount and date of the payment.

                           Debtor shall make the following adequate protection payments:

                                directly to the creditor; or

                                to the Trustee pending confirmation of the plan.

                                                                                                                                                  (c)
 (a)                                                                 (b)                                                         Adequate protection
 Creditor                                                            Collateral                                                     payment amount
 -NONE-



2                                                                                                                                   12.01.15
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                           (ii). Post confirmation payments. Post-confirmation payments to creditors holding claims secured by personal
                           property shall be paid as set forth in subparagraphs (a) and (b). If the Debtor elects to propose a different method of
                           payment, such provision is set forth in subparagraph (c).

                                (a). Claims to Which § 506 Valuation is NOT Applicable. Claims listed in this subsection consist of debts
                                secured by a purchase money security interest in a vehicle for which the debt was incurred within 910 days of
                                filing the bankruptcy petition, or, if the collateral for the debt is any other thing of value, the debt was incurred
                                within 1 year of filing. See § 1325(a)(5). After confirmation of the plan, the Trustee will pay to the holder of each
                                allowed secured claim the monthly payment in column (f) based upon the amount of the claim in column (d)
                                with interest at the rate stated in column (e). Upon confirmation of the plan, the interest rate shown below or as
                                modified will be binding unless a timely written objection to confirmation is filed and sustained by the Court.
                                Payments distributed by the Trustee are subject to the availability of funds.

                                      None; or

                                                                                    (c)                      (d)                                    (f)
 (a)                                    (b)                                      Purchase                 Claim       (e)                      Monthly
 Creditor                               Collateral                                 date                  amount  Interest rate                 payment
 -NONE-

                                (b). Claims to Which § 506 Valuation is Applicable. Claims listed in this subsection consist of any claims
                                secured by personal property not described in Plan paragraph 6(A)(ii)(a). After confirmation of the plan, the
                                Trustee will pay to the holder of each allowed secured claim the monthly payment in column (f) based upon the
                                replacement value as stated in column (d) or the amount of the claim, whichever is less, with interest at the rate
                                stated in column (e). The portion of any allowed claim that exceeds the value indicated below will be treated as
                                an unsecured claim. Upon confirmation of the plan, the valuation and interest rate shown below or as modified
                                will be binding unless a timely written objection to confirmation is filed and sustained by the Court. Payments
                                distributed by the Trustee are subject to the availability of funds.

                                      None; or

                                                                                    (c)                    (d)                                      (f)
 (a)                                    (b)                                      Purchase         Replacement       (e)                        Monthly
 Creditor                               Collateral                                 date                  value Interest rate                   payment
  -NONE-



                                (c). Other provisions.


          (B). Claims Secured by Real Property Which Debtor Intends to Retain. Debtor will make all post-petition mortgage
payments directly to each mortgage creditor as those payments ordinarily come due. These regular monthly mortgage payments, which
may be adjusted up or down as provided for under the loan documents, are due beginning the first due date after the case is filed and
continuing each month thereafter, unless this Plan provides otherwise. Trustee may pay each allowed arrearage claim at the monthly rate
indicated below until paid in full. Trustee will pay interest on the mortgage arrearage if the creditor requests interest, unless an objection
to the claim is filed and an order is entered disallowing the requested interest.

                                                    (b)                                                         (c)                             (d)
 (a)                                                Property                                Estimated pre-petition                Projected monthly
 Creditor                                           description                                         arrearage                 arrearage payment
                                                    471 Thomas Ferry Road
 Rushmore Loan Mgmt Svcs.                           Jackson, GA 30233                                    2,000.00                                   75.00

          (C). Surrender of Collateral. Debtor will surrender the following collateral no later than thirty (30) days from the filing of the
petition unless specified otherwise in the Plan. Any claim filed by a secured lien holder whose collateral is surrendered will be treated as
unsecured. Any involuntary repossession/foreclosure prior to confirmation of this Plan must be obtained by a filed motion and Court
order, unless the automatic stay no longer applies under § 362(c). Upon Plan confirmation, the automatic stay will be deemed lifted for

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the collateral identified below for surrender and the creditor need not file a Motion to Lift the Stay in order to repossess, foreclose
upon or sell the collateral. Nothing herein is intended to lift any applicable co-Debtor stay, or to abrogate Debtor's state law contract
rights.

 (a)                                                                                (b)
 Creditor                                                                           Collateral to be surrendered
 -NONE-

7. Unsecured Claims. Debtor estimates that the total of general unsecured debt not separately classified in Plan paragraph 10 is
$ 24,857.50 . After all other classes have been paid, Trustee will pay to the creditors with allowed general unsecured claims a pro rata
share of $ 100.00 or 1 %, whichever is greater. Trustee is authorized to increase this dollar amount or percentage, if necessary, in
order to comply with the applicable commitment period stated in paragraph 2 of this Plan.

8. Executory Contracts and Unexpired Leases. The following executory contracts and unexpired leases are assumed, and payments
due after the filing of the case will be paid directly by Debtor, not through Trustee, as set forth below in column (c).

         Debtor proposes to cure any default by paying the arrearage on the assumed leases or contracts in the amounts projected in
column (d) at the same time that payments are made to secured creditors. All other executory contracts and unexpired leases of personal
property are rejected upon conclusion of the confirmation hearing.

     None; or

                     (a)                                              (b)                     (c)                               (d)
                   Creditor                                    Nature of lease or     Payment to be paid      Projected arrearage monthly payment
                                                               executory contract     directly by Debtor    through plan (for informational purposes)
 -NONE-

9. Property of the Estate. Property of the estate shall not vest in Debtor until the earlier of Debtor's discharge or dismissal of this case,
unless the Court orders otherwise.




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10. Other Provisions:
                    (A). Special classes of unsecured claims.

                    (B). Other direct payments to creditors.

                    (C). Other allowed secured claims: A proof of claim which is filed and allowed as a secured claim, but is not treated
                    specifically under the plan, shall be funded with 5.0% interest as funds become available after satisfaction of the
                    allowed secured claims which have been treated by the plan and prior to payment of allowed non-administrative
                    priority claims (except domestic support obligation claims as set forth in paragraph 5(A), above) and general
                    unsecured claims. Notwithstanding the foregoing, the Debtor or any other party in interest may object to the
                    allowance of the claim.

                    (D). Claims subject to lien avoidance pursuant to 11 U.S.C. §522(f): The allowed secured claim of each creditor
                    listed below shall not be funded until all allowed, secured claims which are being treated by the plan are satisfied. If
                    an order is entered avoiding the creditor's lien, that creditor's claim shall be treated as a general, unsecured claim to
                    the extent it is not otherwise secured by property of the estate and treated by the plan. To the extent that the
                    creditor's lien is not avoided and is not otherwise treated by the plan, the secured claim shall be funded as set forth
                    in the above paragraph. This paragraph shall apply to the following creditors: 1st Franklin and World Finance.

                    (E). Other provisions. All non-dischargable student loans are in deferment and not to be funded through the
                    Chapter 13 Plan administration.

                    (F). If there is a step provision included in this plan, the increased payments from that step shall be distributed on a
                    pro rata basis to any remaining unpaid administrative, priority unsecured, secured and/or general unsecured
                    creditors.

                    (G). Any federal tax refunds the Debtor(s) are entitled to receive for the Applicable Commitment Period (ACP) shall
                    be paid into the Debtor(s) Chapter 13 case. Further, the Debtor(s) authorizes and instructs the Internal Revenue
                    Service to send any refund for said years directly to the Debtor's Chapter 13 Trustee." 11 U.S.C. §1325 (a) (3) and
                    §1325 ((b) (1) (B). However, the debtor(s) shall be entitled to the first $1,500.00 of any return without Court
                    approval.

                    (H). Any fees, expenses and charges asserted under Fed. R. Bankr. P. 3002.1(c) are not to be funded through the
                    Chapter 13 plan and that the Debtor will pay these post-petition expenses outside the plan unless the Court has
                    disallowed them on a Motion filed under Fed. R. Bankr. P. 3002.1(e).




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 Date December 14, 2016                                                Signature   /s/ Robin Johnston Campbell
                                                                                   Robin Johnston Campbell
                                                                                   Debtor


 Date        December 14, 2016                                         Signature /s/ James N. Stanley, Jr.
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                                                                                   Attorney
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